Case 2:17-cv-00442-SPC-UAM Document 75 Filed 03/28/19 Page 1 of 2 PageID 409



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION

EDUARDO LOPEZ, for himself and on
behalf of those similarly situated

                Plaintiff,

v.                                                 Case No: 2:17-cv-442-FtM-38UAM

REAL MONARCA INC and
GUILLERMO CUEVAS,

               Defendants.
                                         /

                                 OPINION AND ORDER1

      Before the Court is Magistrate Judge Douglas N. Frazier’s Report and

Recommendation. (Doc. 73). Judge Frazier recommends granting the parties’ Renewed

Joint Motion for Approval of Settlement Agreement and Entry of an Order of Dismissal

with Prejudice (Doc. 72) and approving their Settlement Agreement (Doc. 72-1). (Doc.

73 at 1, 5).    The parties filed a Joint Notice of Non-Objection to the Report and

Recommendation, stating that neither objects. (Doc. 74). The matter is ripe for review.

      After conducting a careful and complete review of the findings and

recommendations, a district judge may accept, reject, or modify the magistrate judge’s

report and recommendation. See 28 U.S.C. § 636(b)(1); see also Williams v. Wainwright,


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Case 2:17-cv-00442-SPC-UAM Document 75 Filed 03/28/19 Page 2 of 2 PageID 410



681 F.2d 732 (11th Cir. 1982).      In the absence of specific objections, there is no

requirement that a district judge review factual findings de novo, Garvey v. Vaughn, 993

F.2d 776, 779 n.9 (11th Cir. 1993), and the court may accept, reject, or modify, in whole

or in part, the findings and recommendations, 28 U.S.C. § 636(b)(1)(C). The district judge

reviews legal conclusions de novo, even in the absence of an objection. See Cooper-

Houston v. Southern Ry. Co., 37 F.3d 603, 604 (11th Cir. 1994).

      After careful consideration and an independent review of the file, the Court accepts

and adopts the Report and Recommendation (Doc. 73) in full.

      Accordingly, it is now ORDERED:

      1. The Report and Recommendation (Doc. 73) is ACCEPTED and ADOPTED

          and incorporated into this Order.

             a. The parties’ Renewed Joint Motion for Approval of Settlement

                 Agreement and Entry of an Order of Dismissal with Prejudice (Doc. 72)

                 is GRANTED.

             b. The Settlement Agreement (Doc. 72-1) is APPROVED as a fair and

                 reasonable resolution of the parties’ bona fide dispute.

      2. The action is DISMISSED with prejudice.

      3. The Clerk is DIRECTED to enter judgment accordingly, terminate all pending

          motions and deadlines, and close the file.

      DONE and ORDERED in Fort Myers, Florida this 28th day of March, 2019.




Copies: All Parties of Record




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